Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                          Page 1 of 8 PageID 15
                                                                                  Filed: 61612017 2 29·48 PM
                                                                                  Joshua B. Tackett
                                                                                  Dlsltlet Clerk
                                                                                  Navarro County, Texas
                                                                                  By Connie Schwartziander Deputy

                                    CAUSE NoP17-26012-CV

 TDJB LLC, d/b/a CORSICANA INN                      §          IN THE DISTRICJ' COURT
                                                    §
         PlaintUJ,                                  §
                                                    §
 vs.                                                §          131h JUDICIAL DISTRICT
                                                    §
SCOTTSDALE INSURANCE COMPANY, .§
FOURSEVENTY CLAIMS, LLC AND    §
GORDON LEE, INDIVIDUALLY       §
                                                    §
         Defendant.                                 §          NAVARRO COUNTY, TEXAS

                                  PLAINTIFFS QRlGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW TDJB, LLC d/b/a CORSICANA INN (hereinafter "Corsicana Inn or

Plaintiff"), Plaintiff herein, complaining of (1) Scottsdale Insurance Com~y ("Scottsdale"}, (2)

FomSeventy Claims, LLC, a Texas Limited Liability Company ond (3) Gordon Lee, Individually,

all Defendnnts herein, rutd for cause of action would show the Court the following:

                                                    I.

                                THE PARTIES AND THEIR RESIDENCES

         1.        PlaintifflDJB, LLC, d!b/a Corsicana Inn is a, Texas Limited Liability Company doing

business in Corsicana., Navarro County, Texas.

         2.        Defendant Scottsdale Insurance Company is an Ohio company having its principal

place of business at One Nationwide Plaza, Columbus Ohio 43215. Defendant Scottsdale may be

served citation with Original Petition attached by the Navarro County District Clerk. serving the

Texas Commissioner or of Insurance by Certified Mail Return Receipt Requested at his state address

at P.O. Box 149104 Austin, Texas~ 78714-9104.

         3.       Defendant Fourseventy Claims, LLC, is a Texas Limited Liability Company doing


Plaintiff's Original Petition                                                          Page 1




                                             EXHIBIT 2
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                           Page 2 of 8 PageID 16




 business as an insurance adjuster in Waco, Texas, and may be served with process by delivering a

 copy of citation with Original Petition attached to its registered agent, Matt Fathersee at 302 Granite

Drive, Waco, McCJennan County, Texas 76712.

         4.       Defendant Gordon Lee, Individually, at all times material to this suit was an

agent/adjuster of Defendant Foursevcnty, LLC, and may be served citation with Original Petition

attached at .his place of business and employment located at 302 Granite Drive, Waco, McClennnn,

Texas 76712.

                                                   n.
                                  DISCOVERY CONTROL PLAN

        5.       This case should be governed by Tex. R. Civ. Proc., 190.3, a Level Two case.

                                                  III.

                               RULE 47 DAMAGE ALLEGAIIQNS

        6.       Pursuant to Rule.47, Tex. R. Cil'. Proc., Plaintiff Corsicana Inn alleges that damages

sought by Plaintiff are over $1,000,000.00.

                                                  IV.
                                   VENUE AND JVRISDICTION

        7.       Pursuant to §15.002(a)(2) Tex. Civ. Prac. Code~ venue is proper in Navarro County

because the events giving rise to Plaintiff's suit occurred in whole or in substantial part in Corsicana,

Navarro County, Texas. Further, pursuant to § 15 .032, venue is proper in Navarro County because

the premises and the real property the subject of the Scottsdale commercial insurance policy are

located in Corsicana, Navarro County, Texas. Finally, venue is further proper in Navarro County,

Texas, purs~ant to §15.035, Tex. Civ. Prac. Rem. Code, because the subject contract of insurance

was executed and conswnmated in Navatro County, TeKSS. This Court has jurisdiction because the


PlainUfrs Original Petition                                                             Page2
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                          Page 3 of 8 PageID 17




damages in this cause exceed the minimumjurisdictionallimits ofthis Court

                                                   lV.
                                      BACKGROUND FActS
         8.       This is a suit by Plaintiff on a commercial insurance policy and contract between

Defendant Scottsdale and Plaintiff Corsicana Inn. Plaintiff Corsicana Inn owns a motel premises

located in Corsicana, Texas. Corsicana Inn purchased a commercial insurance policy number

CPS1406359 from Defendant Scottsdale to insure its motel premises effective from June 14,201 J

to June 14, 2012. The Plaintiff timely paid the requested premium and the policy became effective

and in force.

         9.       On or about May 7, 2012. the Plaintiff's motel property sustained substantial damage

caused by lightning. Among other things, there was substantial damage to the motel HVAC (PTAC)

systems, its telephone system, it's circuit breakers, its internet its computer systems, its electrical

locks: it's alarm and security system and other functional components. The damage to the motel

adversely affected the Plaintiff's ability to conduct and operate its motel business. Ultimately, the

Plaintiff had to shut down its motel operations and part of the motel has now been demoJished.

         10.      Plaintiff Corsicana Inn timely reported the loss to Dcfcndo.nt Scottsdale and

DefendantScottsdale sUbsequently began a cursory investigation ofthe Plaintiff's loss. Even though

Scottsdale acknowledged and paid a portion of the Plaintiff's loss and claim, Defendant Scottsdale

failed to timely investigate and adjust the entire claim. Scottsdale engaged Defendants Fourseventy

and Gordon Lee to investigate the claim or to play Plaintiff what it was entitled to under the

Scottsdale policy. Defendants Fo~eventy and Gordon Lee failed to timely and properly inspect and

investigate all of Plaintiff's damage to its property. Defendant Scottsdale's, and its agents• failure

to act reasonably and in good faith in conducting in the investigation and payment of Corsicana's


Plaintitrs Original Petition                                                           Page3
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                            Page 4 of 8 PageID 18




claim resulted in Plaintiff being unable to continue to operate its business and Plaintiff ultimately

had to close its motel business. Plaintiffhas contested the amount paid by Scottsdale and now seeks

to recover the balance of its contractual claim plus damages for the loss of its motel business

operations.

                                                    v.
                          BREACH OF THE CONTRACT (SCOTTSDALF.J

         11.      Rcurging the facts above as if ~xpressly set forth h.erei~ the refusal of Scottsdale to

properly and reasonably investigate and timely pay the entirety of Plaintiff's claim constitutes a

breach ofthe parties' insurance contract. At all times Defendant Scottsdale knew and was a\vare that

Plaintiff was entitled to recover additional amounts under its policy but Scottsdale failed and refused

to make payment as it is obligated to do. Defendant Scottsdale's breach of the insurance contract

caused substantial harm and damage to the Plaintiff. Plaintiff seeks damages under the insurance

contract 1111d for its lost business operations. Plaintiff Corsicana Inn seeks damages well in excess

of the minimum jurisdictional limits of the Court.

                                                   VI.

                         VIOLATIONS OF TEX. INS. CODE ANN. §54l.OSJ

                                   (DEFENDANT SC01TSDALE)

         J2.      Reurging the facts above as if expressly set forth herein, the failure of Scottsdale to

timely pay Corsicanalnn' s claim constitutes violations ofTEX INS. CODEANN. §542.051. et. seq.,

entitling Corsicana Inn to the full amount of its claim plus interest a.t the ra.te of 1&% per annum and

attorney's fees.      At all times material to this claim, Scottsdale has received all neccssSJy

documentation and infonnation :from PlaintiffCorsicana Inn sufficient to make its decision to timely

pay Corsicana Inn's entire claim. Scottsdale's failure to do so is a violation of §542.051.


Plaintitrs Original Petition                                                             Page4
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                              Page 5 of 8 PageID 19




                                                   VII.

               VIOLATIONS OF TEXAS INSURANCE CODE <ALL DEFENDANTS)·

         13.       Reurging the facts above as if expressly set forth herein, the conduct of the

Defendants, jointly and sevemlly~ as described above, violates the Tex. Ins. Code .Ann. §541.060 and

541.061 in one or more of the following particulars:

         1.       Failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement

                  of Plaintiff's claim when liability was reasonably clear;

         2.       Failing within a reasonable time to affinn coverage on Plaintiff's claim;

         3.       Refusing to pay a claim in full without conducting a reasonable investigation of

                  Plaintiff's claim by creating delays, avoidance, refusals to communicate, and ignoring

                  information furnished by Plaint;iff;

         Each of these acts was committed knowingly and/or intentionally by Scottsdale and entitles

Plaintiff to recover additional penalties and damages, for whic:h sums Plaintiff sues for herein.

                                                  VIII.

                                   AGENCV AND NEGLIGENCE

                                        (ALL DEFENDANTS)

         14.      Reurging the facts above as if expressly set forth hetein, Plaintiff would furtbet

show that Defendants Fourseventy Claims and Gordon Lee were agents ofDcfendiint Scottsdale

engaged to investigate the Plaintiff's claim and were negligent in their inspection and investigation

the Plaintiffs claim. Under Texas Jaw their negligence is imputed to their principal Defendant

Scottsdale. Because of the bad faith and negligence of Defendants Scottsdale, Fourseveilty and

Gordon Lee, Plaintiff seeks to recover its losses Wlder the parties' insurance contract as well as for

the wholesale loss of Plaintiff's motel business and operation.


Plaintitrs Original Petition                                                            PageS
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                            Page 6 of 8 PageID 20




                                                     IX.

                BREACH OF THE DillY OF GOOD FAITH AND FAIR DEALING

                                          CALL DEFENDANTS)

          15.       Reurging the facts above as ifexpressly set forth herein and through Defendants' acts

 failing and refusing to investigate Plaintiff's entire ciaim of loss. Defendants • breached their duties

 owed to Plaintiff to properly adjust and pay Plaintiff's claim.

          16.       The Defendants' ·breach of the cJ,u_ty of good faith .and fair dealing was a proximate

 cause of Plaintiff's damages tor which it sues for herein.

                                                     X.

                          CONSPIRACY AND FRAUD CALL DEFENDANTS)

          17.       Reurging the facts above as if expressly set forth herein, Plaintiff seeks damages for

 common law fraud resulting from the Defendants' overt actions in failing to properly investigate

 Plaintiff. s claim and denying Plaintiff's claim without having investigated and adjusting Plaintitr s

 entire claim. These Defendants have miSrepresented the resuJts of their investigation and have

 further concealed all orpart of the material information gleane4 from their.investigation of the loss

 with the intention ofinducing Plaintiffto accept an amount ofbenefits under the policy less than that

 which it is entitled. The conduct of these Defendants, jointly tUld severally, proximately caused the

 damages sought by Plaintiff for which Plaintiff sues for herein.

                                                     XI.

                                      CONDITIONS PRECEDENT

          18.       All conditions precedent to Plaintiff's right to recover have been met or have

 occurred. Plaintiff has given Scottsdale timely notice of the loss. Plaintitfhas given Scottsdale an

 accurate description of the loss. It b1ls allowed Scottsdale an. opportunity to inspect and examine the


 Plaintiff's Original Petition                                                            Page6
Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                             Page 7 of 8 PageID 21




property and cooperate fully with Scottsdale in it's investigation ofth~ claim.

                                                   XIL

                                               DAMAGES

          19.     Reurging the facts above as if expressly set forth hereins as a result of the foregoing

conduct of the Defendants, Corsicana Inn has been damaged in a sum in excess of the minimum

jurisdictional limits ofthe Court as described herein. PlaintiffCorsicana Inn seeks its actual damages

in an amount in excess of the minimum.jurisdictionallimits ofthis Court. Plaintiff further seeks

exemplary damages from Defendants, jointly and severally, for the tort liability claims described

herein.

                                                  XIV.

                                         ATTORNEY'S FEES

          20.     As a result of the foregoing allegations, Corsicana Inn was forced to employ the

services Marty D. Price, a licensed Texas attorney, to protect and prosecute its interests and claims

in this matter. Counsel has made written demand on Defendant Scottsdale to pay its claims unde the

insurance contract Accordingly, pursuant to Chapter 38, Tex. Civ. Prac. Rem. Code, Corsicana Inn

is therefore entitled to recover its reasonable artd necessary attorney's fees incurred at trial and in the

event of an appeal.

                                                PRAYER
          WHEREFORE PREMISES CONSIDERED, Corsicana Inn prays that the Defendants be cited

to appear and answer herein and that. upon final hearing, Plaintiff hav~:

          1. Judgment against all Defendants, jointly and severally for Plainti:fPs actual damages      as
described herein;

          2. All double, treble, and additional or punitive damages against the Defendants for which


Plaintiffs Original Petition                                                              Pagc7
.   .   Case 3:17-cv-02395-G Document 1-2 Filed 09/08/17                          Page 8 of 8 PageID 22




         Corsicana Inn may show itself to be justly entitled.

                  3. All prejudgment and post-judgment interest for which Plaintiff Corsicana Inn may show

        itselfto be justly entitled at the maximum legal rate allowable by law (subject to number l above);

                  4. Reasonable and necessary attorney's fees at trial and on appeal.

                  5. Costs of Court; and

                  6. Such other and further relief, both at law and at ~uity, to which Plaintiff Corsicana Inn

        may show itself to be justly entitled.

                                                                RespcctfulJy submitted,




                                                                     TYD. RICE
                                                                Texas State ar No. 16302300
                                                                2514 Boll Street
                                                                Dallas, Te1Cas 75204
                                                                (214) 871-1386
                                                                Fax: (214) 871-1389
                                                                martyprice@martyprice.com

                                                                ATTORNEYFORP~F
                                                                TDJB LLC d/b/a CORSICANA INN




        Plaintiff's Original Petition                                                        PageS
